             Case 1:18-cv-03659-AT Document 201 Filed 03/17/22 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

REDSTONE M&A GROUP, LLC,                        )
                                                )
        Plaintiff,                              )
                                                )      CIVIL ACTION FILE
v.                                              )      NO. 1:18-cv-03659-AT
                                                )
LASALLE CAPITAL GROUP II-A, L.P.,               )
and LASALLE CAPITAL GROUP                       )
PARTNERS II-A, LLC,                             )
                                                )
        Defendants.                             )
                                                )

                 DECLARATION OF TECHNICAL DIFFICULTIES

        Please take notice that Plaintiff was unable to file the attached Response to

Defendants’ Post-Trial Submission in a timely manner due to technical difficulties.

The deadline for filing this document was March 16, 2022. Below are the reasons I

was unable to file the document in a timely manner, and the good faith efforts I made

prior to the filing deadline to both file in a timely manner and to inform the Court

and the other parties that I could not do so:

        1.      An employee with my firm attempted to electronically file the

                Response on the Court’s electronic filing system shortly after 9:30 p.m.




#3347717v1
             Case 1:18-cv-03659-AT Document 201 Filed 03/17/22 Page 2 of 4




                on March 16, 2022. She could not access the system and continued

                trying to do so until approximately 11:56 p.m.

        2.      During this time period, four other employees with my firm in different

                locations, including one in the IT department, as well as counsel of

                record in this case, attempted to access the system to file the Response

                before the deadline but were unsuccessful.

        3.      At 10:46 p.m., I emailed the Court’s Courtroom Deputy (Harry Martin),

                Law Clerk (Gavin Palmer), and Defendants’ counsel to notify them of

                these technical difficulties and provided them with a copy of the

                Response, attached hereto as Exhibit A, before the March 16, 2022,

                deadline.

        I declare under penalty of perjury that the foregoing is true and correct.


                                        Respectfully submitted,

                                        /s/ Jason J. Carter
                                        Jason J. Carter
                                        Georgia Bar No. 141669
                                        carter@bmelaw.com
                                        BONDURANT, MIXSON & ELMORE, LLP
                                        3900 One Atlantic Center
                                        1201 W. Peachtree Street
                                        Atlanta, Georgia 30309

                                        Attorney for Plaintiff

                                           -1-
#3347717v1
             Case 1:18-cv-03659-AT Document 201 Filed 03/17/22 Page 3 of 4




                         CERTIFICATE OF COMPLIANCE


        Pursuant to Local Rule 7.1(D), I hereby certify that this document complies

with the font and point selections set forth in Local Rule 5.1. This document was

prepared in Times New Roman 14-point font.


                                        /s/ Jason J. Carter
                                        Jason J. Carter
                                        Georgia Bar No. 141669




                                         -2-
#3347717v1
             Case 1:18-cv-03659-AT Document 201 Filed 03/17/22 Page 4 of 4




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 17th day of March, 2022, a copy of the foregoing

DECLARATION OF TECHNICAL DIFFICULTIES was electronically filed

with the Clerk of Court using the Court’s CM/ECF system, which will automatically

serve all counsel of record.


                                        /s/ Jason J. Carter
                                        Jason J. Carter
                                        Georgia Bar No. 141669




                                         -3-
#3347717v1
